           Case 1:13-cr-00219-LJO-SKO Document 37 Filed 06/17/13 Page 1 of 4


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MEGAN A. S. RICHARDS
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-00219-LJO-SKO

12                                Plaintiff,            STIPULATION AND ORDER BETWEEN THE
                                                        UNITED STATES AND DEFENDANT ELISEE
13                          v.                          TORRES-PACHECO

14   MAYRA ALEJANDRA SORIA,
     MATEO MANUEL SATIAGO,
15   ERIC ALBERTO HERRERA,
     BRISA CELESTE CASTILLO, and
16   ELISEE TORRES-PACHECO,
                          Defendants
17

18                                              STIPULATION
19          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
20 information including but not limited to Social Security numbers, dates of birth, financial account

21 numbers, telephone numbers, and residential addresses (“Protected Information”); and

22          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
23 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court

24 proceedings in this matter;

25          WHEREAS, the parties agree that entry of a stipulated protective order is appropriate.
26          THEREFORE, defendant ELISEE TORRES-PACHECO, by and through her counsel of record
27 Robert Wilkinson (“Defense Counsel”), and plaintiff the United States of America, by and through its

28 counsel of record, hereby agree and stipulate as follows:
       STIPULATION AND [PROPOSED] ORDER BETWEEN THE
                                                        1
       UNITED STATES AND DEFENDANT ELISEE TORRES-
30     PACHECO
         Case 1:13-cr-00219-LJO-SKO Document 37 Filed 06/17/13 Page 2 of 4


 1   1. This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of Criminal

 2       Procedure, and its general supervisory authority.

 3   2. This Order pertains to all discovery provided to or made available to Defense Counsel as part of

 4       the discovery in this case (hereafter, collectively known as the “discovery”).

 5   3. By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 6       documents that contain Protected Information with anyone other than Defense Counsel, other

 7       attorneys in Defense Counsel's law firm, designated defense investigators, consultants and

 8       experts, and support staff. Defense Counsel may permit the defendant and witnesses to view

 9       unredacted documents in the presence of Defense Counsel, other attorneys in Defense Counsel's

10       law firm, defense investigators, consultants and experts, and support staff. The parties agree that

11       Defense Counsel, other attorneys in Defense Counsel's law firm, defense investigators,

12       consultants and experts, and support staff shall not allow the defendant or witnesses to copy

13       Protected Information contained in the discovery. The parties agree that Defense Counsel, other

14       attorneys in Defense Counsel's law firm, defense investigators, consultants and experts, and

15       support staff may provide the defendant and witnesses with copies of documents from which

16       Protected Information has been redacted. However, Defense Counsel, other attorneys in Defense

17       Counsel's law firm, defense investigators, consultants and experts, and support staff may provide

18       copies of documents that solely contain the defendant's or a witness' own Protected Information

19       to the defendant or that witness without redaction.

20   4. The discovery and information therein may be used only in connection with the litigation of this

21       case and for no other purpose except to the extent that such information is independently and

22       lawfully in the possession of the defendant, Defense Counsel, other attorneys in Defense

23       Counsel's law firm, defense investigators, consultants and experts, and support staff. The

24       discovery is now and will forever remain the property of the United States Government except to

25       the extent that copies of the same documents produced in discovery are independently and

26       lawfully in the possession of the defendant, Defense Counsel, other attorneys in Defense

27       Counsel's law firm, defense investigators, consultants and experts, and support staff. Defense

28       Counsel will return the discovery to the Government or certify that it has been destroyed at the
     STIPULATION AND [PROPOSED] ORDER BETWEEN THE
                                                      2
     UNITED STATES AND DEFENDANT ELISEE TORRES-
30   PACHECO
          Case 1:13-cr-00219-LJO-SKO Document 37 Filed 06/17/13 Page 3 of 4


 1        conclusion of the case.

 2     5. Defense Counsel will store the discovery in a secure place and will use reasonable care to ensure

 3        that it is not disclosed to third persons in violation of this agreement.

 4     6. Defense Counsel shall be responsible for advising the defendants, employees, other members of

 5        the defense team, and defense witnesses of the contents of this Stipulation and Order.

 6     7. In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees to

 7        withhold discovery from new counsel unless and until substituted counsel agrees also to be

 8        bound by this Order or the Court modifies this Order regarding such transfer of discovery.

 9     8. The parties hereto may seek modification of this Order by stipulation. If the parties are unable to

10        agree to a modification of this Order, either party may seek modification of this Order from the

11        court for good cause with appropriate notice to the other party.

12        IT IS SO STIPULATED.

13

14 Dated: June 11, 2013                                      BENJAMIN B. WAGNER
                                                             United States Attorney
15

16                                                           /s/ Megan A. S. Richards
                                                             MEGAN A. S. RICHARDS
17                                                           Assistant United States Attorney
18

19 Dated: June 11, 2013                                      /s/ Robert Wilkinson (authorized 6/11/13)
                                                             Counsel for Defendant
20                                                           ELISEE TORRES-PACHECO
21

22

23                                                   ORDER
24

25

26 IT IS SO ORDERED.
27     Dated:                   June 17, 2013                  /s/ Lawrence J. O’Neill
28        DEAC_Signature-END:
                                                         UNITED STATES DISTRICT JUDGE

      STIPULATION AND [PROPOSED] ORDER BETWEEN THE
                                                         3
      UNITED STATES AND DEFENDANT ELISEE TORRES-
30    PACHECO
         Case 1:13-cr-00219-LJO-SKO Document 37 Filed 06/17/13 Page 4 of 4


 1
         b9ed48bb
 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
     STIPULATION AND [PROPOSED] ORDER BETWEEN THE
                                                    4
     UNITED STATES AND DEFENDANT ELISEE TORRES-
30   PACHECO
